Case 2:20-cv-02476-SSV-JVM Documenti1-2 Filed 09/10/20 Pager! BirF

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CIVIL DISTRICT FOR THE PARISH OF ORLEANS DISTRICT COURT

STATE OF LOUISIANA
NO: DIVISION:
KARLINDA BROOKS
VERSUS
RASIER, LLC D/B/A UBER TECHNOLOGIES INC & SIMON DOE
FILED: DEPUTY CLERK:
PLAINTIFE’S AMENDED PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, come Plainuff, Karlina Brooks, who
desire fo amend the caption, parigraph |, paragraph 1, paragraph II, paragraph IV, paragraph V,
paragraph VI, and the paragraph beginning with WHEREFORE in her previously filed Petition for

Damages to now read in its entirely, as follows:

KARLINDA BROOKS

VERSUS

RASIER, LLC D/B/A UBER TECHNOLOGIES INC & SIMON DOE
Paragraph i!

Made Defendants hercin are:
A.) RASIER, LLC D/B/A UBER TECHNOLOGIES INC (simply “UBER”), a
major upon information and belief is domiciled in the Pansh of Jefferson, State of
Louisiana;
B.) SIMON DOE (simply “SIMON"), upon information and belief, a foreign
insurance company, authorized to do and doing business in the Parish of Orleans,
State of Louisiana;
Paragraph II
Each of the above Defendants are indebted unto Pelilioner, jointly and/or in solido
in an amount that is reasonable in the premise, with legal interest thereon from the
date of judicial demand, until paid, and for all costs of these proceedings for the
following reasons.
Paragraph ILI
On or about Apri] 21, 2019, an incident occurred at the intersection of Interstate 10

West and Interstate 610, in the Parish of Orleans, State of Louisiad EaiRdfnl ED
EXHIBIT Yanley Salazar

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Pamgraph IV

Paragraph V

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SIMON, who at the ime was working for UBER through their ride SPRY APR OURT

which allowed SIMON to arrange for a pick up to transport Via SIMON’s vehicle.
Suddenly and without warning, SIMON, ASSAULTED KARLINDA in an attempt
to rob, batter and/or sexually assault her for no reason and without provocation. At

all relevant times, KARLINDA was a lawful passenger in SIMON’s vehicle.

The sole and proximate cause of the above referenced accident was the neghgence
and faull of the defendants, SIMON & UBER which is attributed to but not limited

to the following non-exclusive particulars:

a. The use of force that is unauthorized and/or unlawful;
b. Battery to the person of another without permission;

&

Assaulting another person without permission;

d. Operating his vehicle in a careless and reckless manner without
regard for the safety of those present inside of his vehicle;

e Committing and/or attempting to commit a crime of violence and/or

sexual assault on the person of another wilhoul permission;

f. Negligent hiring;

g Negligent training;
h. Failure to thoroughly vet/screen potential drivers/employees;
i, Failure to conduct criminal background checks and/or psychological

evaluations; and
Bp All other acts of negligence and/or intentional acts, which may be

proven al the tia! of this mutter

Defendant UBER is liable unto plaintiff for the actions of SIMON under the
doctrine of respondeat superior because al the lime of the tortious conduct being
committed, SIMON was acting in the course and scope of his employment with

UBER.

Defendant UBER is likewise liable unto plaintiff for the actions/mactions made by

UBER which led to SIMON being allowed to commit this terrible act onto plaintiff.
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Paragraph beginning with Wherefore DISTRICT COURT

WHEREFORE, Petitioner, Karlinda Brooks prays that defendants be duly cited and
served with a copy of this Petition and, after all due proceedings are had, there be
a judgment im favor of Petitioner and against Defendants, jointly and in solido in
amounts as are reasonable in the premise, including but not limited to, past physical
pain and suffering, future physical pain and suffering, past mental pain and
suffering, future mental pain and suffering, past and future medical expenses, loss
of past and future earnings, loss of future earning capacity, and loss of enjoyment
of life together with legal interest thereon {rom date of judicial demand, until paid,
and for all accosts of these proceedings.

Petitioner prays for all general and equitable relief.

Subject to the above modifications, Plaintiff reiterate and re-allege al! of her prior
allegations in her initial Petition for Damages.
Respectfully Submitted:

STEWARD LAW GROUP

c

 

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Rasier, LLC d/b/a Uber Technologies Inc
Through its Registered Agent for Service of Process)
C T Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

SIMON
HOLD SERVICE

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